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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


SCOTT SMITH,
                                                   Case No. _______________
               Plaintiff,

v.
                                                               COMPLAINT
RHJT, INC.,
                                                           Injunctive Relief Sought
               Defendant.



       Plaintiff Scott Smith, by and through the undersigned counsel, brings this action
against Defendant RHJT, Inc., a Minnesota business corporation, for violations of the
Americans With Disabilities Act, 42 U.S.C. § 12181, et seq. (the “ADA”) and its imple-
menting regulations, and alleges as follows:

                                   INTRODUCTION

       1.      Plaintiff brings this civil rights action against Defendant for failing to de-
sign, construct, and/or own or operate facilities that are fully accessible to, and inde-
pendently usable by, persons with disabilities. Defendant has failed to remove
architectural barriers at the restaurant known as “Dairy Queen”, even though such re-
moval is readily achievable.
       2.      The violations alleged in this complaint occurred at “Dairy Queen”, located
at 821 N Lakeshore Drive, Lake City, MN 55041.
       3.      Defendant’s failure to provide equal access to “Dairy Queen” violates the
mandates of the ADA to provide full and equal enjoyment of a public accommodation’s
goods, services, facilities, privileges, and advantages.


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       4.      Defendant’s conduct constitutes an ongoing and continuous violation of the
law.
       5.      Accordingly, Plaintiff seeks a declaration that Defendant’s facilities violate
federal and state law and an injunction requiring Defendant to make modifications to the
facilities so that they are fully accessible to, and independently usable by, individuals
with disabilities. Plaintiff further requests that the Court retain jurisdiction over this mat-
ter for a period to be determined to ensure that Defendant continues to comply with the
relevant requirements of the ADA.

                            JURISDICTION AND VENUE

       6.      Jurisdiction of this Court arises under 28 U.S.C. §§ 1331 and 1343(a)(3).
This action includes federal law claims brought pursuant to Title III of the Americans
with Disabilities Act, 42 U.S.C. §§ 12181–12189. The Court has the jurisdiction to issue
a declaratory judgment pursuant to 28 U.S.C. § 2201 and Fed R. Civ. P. 57.
       7.      Venue in this judicial district is proper because Defendant is located and
transacts business within this judicial district and has sufficient contacts to be subject to
personal jurisdiction in this judicial district, and because this is the judicial district in
which the acts and omissions giving rise to the claims occurred.

                                         PARTIES

       8.      Plaintiff Scott Smith is a resident of the city of Burnsville, Minnesota.
Plaintiff suffers from, and all times relevant hereto has suffered from, a legal disability as
defined by the ADA, 42 U.S.C. § 12102(2). Plaintiff is therefore a member of a protected
class under the ADA, under the regulations implementing the ADA set forth at 28 C.F.R.
§ 36.101 et seq.



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          9.      Mr. Smith suffers from arthrogryposis, a rare and disabling congenital joint
contracture that for Mr. Smith results in muscle weakness and an inability to stand or
walk. Mr. Smith uses a wheelchair for mobility. As a person with a disability, Mr. Smith
has a personal interest in having full and equal access to places of public accommodation
and to the goods, services, facilities, privileges, advantages or other things offered there-
in.
          10.     Defendant RHJT, Inc., a Minnesota business corporation, is the owner and
operator of the real property and improvements which are the subject of this action, the
restaurant “Dairy Queen”, a place of public accommodation within the meaning of the
ADA, located at the street address of 821 N Lakeshore Drive, Lake City, MN 55041.

                                FACTUAL BACKGROUND

          11.     On May 25, 2017, Plaintiff attempted to patronize the restaurant, “Dairy
Queen”, in Lake City, Minnesota.
          12.     When he visited, Plaintiff found that the “Dairy Queen” customer parking
lot had space for approximately 12 total parking spaces.
          13.     Plaintiff found 0 parking spaces reserved for persons with disabilities, and 0
parking spaces with an adjacent access aisle.
          14.     Photographs in Exhibit A to this Complaint depict this parking lot as it ap-
peared on Plaintiff’s May 25, 2017 visit.
          15.     Plaintiff lives in Burnsville, Minnesota and frequently travels throughout
Minnesota, including Lake City. Plaintiff’s brother lives in the Winona area, and he regu-
larly drives through Lake City on his way to visit his brother. He attempted to patronize
“Dairy Queen”, but was deterred, due to the lack of accessible parking and accessible
routes.



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       16.      In light of the architectural barriers at “Dairy Queen”, Plaintiff is deterred
from visiting “Dairy Queen” in the future. Plaintiff would like to be able to patronize
“Dairy Queen”, but these architectural barriers deter him from doing so. He plans to re-
turn and patronize “Dairy Queen” when he learns that the premises have been made fully
accessible to persons who use wheelchairs for mobility.
       17.      Plaintiff attempted to access Defendant’s premises, but could not do so in-
dependently on a full and equal basis because of his disabilities, due to the physical barri-
ers to access and violations of the ADA that exist at Defendant’s premises. As a result of
Defendant’s non-compliance with the ADA, Plaintiff cannot independently access the
facilities and/or is excluded from full and equal enjoyment of the goods, services, privi-
leges, advantages, and/or accommodations offered therein.
       18.      The architectural barriers alleged in this complaint also violate Minnesota
Human Rights Act, Minn. Stat. Chapter 363A. Notice of the architectural barriers at
“Dairy Queen” as required under Minn. Stat. 363A.331, subd. 3, is hereby given and at-
tached as Exhibit B to this complaint.

                              FACTUAL ALLEGATIONS

       19.      Defendant has discriminated against Plaintiff on the basis of his disabilities
by failing to comply with the requirements of the ADA and the ADAAG with regard to
“Dairy Queen”. A specific, though not exclusive, list of unlawful physical barriers and
ADA violations present at “Dairy Queen” which limit the ability of persons in wheel-
chairs to access the facilities and/or to enjoy the goods, services, privileges, advantages
and/or accommodations offered therein on a full and equal basis, includes the following:
             a. “Dairy Queen” had approximately 12 total parking spaces in its customer
                parking, lot but had 0 accessible parking spaces complying with ADAAG
                502, in violation of ADAAG 208.2. Plaintiff uses a wheelchair for mobility

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                and requires compliant accessible parking spaces to make safe transfers be-
                tween his vehicle and wheelchair.
             b. “Dairy Queen” had approximately 12 total parking spaces in its customer
                parking, lot but had 0 van parking spaces complying with ADAAG 502, in
                violation of ADAAG 208.2.4 Plaintiff often uses a wheelchair van for mo-
                bility and requires compliant accessible parking spaces to make safe trans-
                fers between his wheelchair van and the parking lot.
       20.      The above listing is not to be considered all-inclusive of the barriers and
violations of the ADA encountered by Plaintiff or which exist at “Dairy Queen”. To
qualify as an accessible parking space, it must be located on the shortest accessible route,
marked by appropriate signage, flanked by an access aisle, and comply with sloping re-
quirements. ADAAG 206, 208, 402, 403, 405, 406, and 502.
       21.      In order to fully remedy the discriminatory conditions, Plaintiff requires an
inspection of “Dairy Queen” in order to photograph and measure all such barriers to ac-
cess and violations of the ADA and the ADAAG.
       22.      Compliance with the ADA standards and the ADAAG is required by 42
U.S.C § 12182(b)(2)(A)(iv) because removal of architectural barriers is readily achieva-
ble. Compliance with the ADA standards and the ADAAG is readily achievable by De-
fendant due to the lack of difficulty and low cost of remedying the above-listed barriers.
Some of the above-listed violations can be remedied through the same measures pre-
scribed by federal regulation as examples of modifications that are “readily achievable”,
including, but not limited to, creating accessible parking spaces. 28 C.F.R. § 36.304(b).
       23.      As a person with a disability, Plaintiff has a personal interest in having full
and equal access to places of public accommodation and to the goods, services, facilities,
privileges, advantages or other things offered therein.


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         24.   Without injunctive relief, Defendant’s failure to remove accessibility barri-
ers will continue to cause injury to Plaintiff, who will continue to be deterred from pat-
ronizing the facility and will continue to be unable to independently access “Dairy
Queen” and/or to enjoy the goods, services, privileges, advantages and/or accommoda-
tions offered therein on a full and equal basis, in violation of his rights under the ADA.

                          FIRST CAUSE OF ACTION
     Violations of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et seq.

         25.   Plaintiff incorporates and realleges the above paragraphs.
         26.   Section 302(a) of Title III of the ADA, 42 U.S.C. §§ 12101 et seq., pro-
vides:

               No individual shall be discriminated against on the basis of
               disability in the full and equal enjoyment of the goods, ser-
               vices, facilities, privileges, advantages, or accommodations of
               any place of public accommodation by any person who owns,
               leases (or leases to), or operates a place of public accommo-
               dation.

         27.   Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimina-
tion to deny individuals with disabilities an opportunity to participate in or benefit from
the goods, services, facilities, privileges, advantages, or accommodations that is equal to
the opportunities afforded to other individuals.
         28.   Defendant has discriminated against Plaintiff and others in that it failed to
make its place of public accommodation fully accessible to persons with disabilities on a
full and equal basis in violation of 42 U.S.C. § 12182(a) and the regulations promulgated
thereunder, including the ADAAG, as described above. Plaintiff has been denied full and
equal access to “Dairy Queen” and/or has been denied the opportunity to participate in or
benefit from the goods, services, facilities, privileges, advantages, or accommodations on
a full and equal basis.
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       29.      Defendant has failed to take any prompt and equitable steps to remedy its
discriminatory conduct. Defendant’s violations of the ADA and ADAAG are ongoing.
       30.      Defendant has failed to remove architectural barriers to full and equal ac-
cess by Plaintiff, even though removing the barriers is readily achievable.
       31.      Plaintiff plans to visit “Dairy Queen” again in the near future. Plaintiff is
without adequate remedy at law, has suffered and is suffering irreparable harm, and rea-
sonably anticipates that he will continue to suffer irreparable harm upon his planned re-
turn visit to “Dairy Queen” unless and until Defendant is required to remove the physical
barriers to access and ADA violations that exist at Defendant’s place of public accom-
modation, including those set forth specifically herein.
       32.      This Court has authority under 42 U.S.C. § 12188 to grant Plaintiff injunc-
tive relief, including an order requiring Defendant to make “Dairy Queen” readily acces-
sible to and independently usable by individuals with disabilities to the extent required by
the ADA and ADAAG, and/or to close “Dairy Queen” until such time as Defendant cures
the access barriers.
       33.      Plaintiff has retained the undersigned counsel for the filing and prosecution
of this action, and is entitled to recover reasonable attorneys’ fees, litigation expenses and
costs from Defendant, pursuant to 42 U.S.C. §§ 12205, 12117, and 28 C.F.R. § 36.505.

WHEREFORE, Plaintiff respectfully requests:

             a. That the Court issue a Declaratory Judgment that determines that Defend-
                ant’s facilities, at the commencement of the instant suit, are in violation of
                Title III of the ADA, 42 U.S.C. § 12181, et seq., and the relevant imple-
                menting regulations including the ADAAG.




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        b. That the Court issue a permanent injunction, pursuant to 42 U.S.C.
           § 12188(a)(2), 28 C.F.R. § 36.504(a), enjoining Defendant from continuing
           its discriminatory practices; including an order directing Defendant to make
           all readily achievable alterations to its facilities so as to remove physical
           barriers to access and make its facilities fully accessible to and inde-
           pendently usable by individuals with disabilities to the extent required by
           the ADA; and also including an order requiring Defendant to make all rea-
           sonable modifications in policies, practices or procedures necessary to af-
           ford all offered goods, services, facilities, privileges, advantages or
           accommodations to individuals with disabilities on a full and equal basis.
        c. That the Court award Plaintiff his reasonable attorneys’ fees, litigation ex-
           penses, and costs of suit pursuant to 42 U.S.C. § 12205, 28 C.F.R. § 36.505,
           or as otherwise provided by law; and
        d. That the Court issue such other relief as it deems just and proper, and/or is
           allowable under Title III of the ADA.




DATED: July 14, 2017

                                       /s/ Padraigin L. Browne
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